                                                                                 Page 1 of 2
                Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 1 of 13


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                                                             REGISTER OF ACTIONS
                                                             CASE NO. D-101-CV-2021-00377

State of New Mexico ex rel, et. al., v. Gilead Sciences Inc, et. al.          §                                       Civil Violations, Statutes,
                                                                                                       Case Type:
                                                                              §                                       Ordinances
                                                                              §                         Date Filed: 02/24/2021
                                                                              §                           Location:
                                                                              §                     Judicial Officer: Sanchez-Gagne, Maria
                                                                              §


                                                                       PARTY INFORMATION

                                                                                                                           Attorneys
Defendant       Bristol Myers Squibb a Delaware
                Corporation


Defendant       Gilead Sciences Inc a Delaware Corporation


Defendant       Gilead Sciences LLC a Delaware Limited
                Liabilty Company Formerly Known
                As Bristol Myers Squibb and Gilead
                Sciences LLC


Defendant       Teva Pharmaceuticals USA Inc a New
                Jersey Corporation


Plaintiff       Balderas, Hector H                                                                                         Marcus J. Rael, Jr.
                                                                                                                            Retained
                                                                                                                           505-242-2228(W)


                                                                                                                           Brian L. Moore
                                                                                                                            Retained
                                                                                                                           505-717-3511(W)


                                                                                                                           P. Cholla Khoury
                                                                                                                            Retained
                                                                                                                           505-827-7484(W)


Plaintiff       State of New Mexico ex rel                                                                                 Marcus J. Rael, Jr.
                                                                                                                            Retained
                                                                                                                           505-242-2228(W)


                                                                                                                           Brian L. Moore
                                                                                                                            Retained
                                                                                                                           505-717-3511(W)


                                                                                                                           P. Cholla Khoury
                                                                                                                            Retained
                                                                                                                           505-827-7484(W)


                                                                EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
02/24/2021                        Statutes, Ordinance Violations, Miscellaneous (Count I - Violation of New Mexico Anti Trust Act Against Gilead and
             Cause Of Actions
                                  Teva)
             Action Type          Action
02/24/2021                        Statutes, Ordinance Violations, Miscellaneous (Count II - Violation of New Mexico Anti Trust Act Against Gilead, BMS
             Cause Of Actions
                                  and Gilead-BMS JV)
             Action Type          Action
02/24/2021   Cause Of Actions     Statutes, Ordinance Violations, Miscellaneous (Count III - Violation of New Mexico Anti Trust Act Against Gilead Only)
             Action Type          Action
02/24/2021   Cause Of Actions     Statutes, Ordinance Violations, Miscellaneous (Count IV - Violation of New Mexico Anti Trust Act Against Gilead Only)
             Action Type          Action
02/24/2021                        Statutes, Ordinance Violations, Miscellaneous (Count V - Violation of New Mexico Anti Trust Act Against Gilead and
             Cause Of Actions
                                  Teva)
             Action Type          Action
02/24/2021                        Statutes, Ordinance Violations, Miscellaneous (Count VI - Violation of New Mexico Anti Trust Act Against Gilead, BMS
             Cause Of Actions
                                  and Gilead-BMS)

                                                                                                                                                    EXHIBIT

                                                                                                                                                     A
https://securecourtcaseaccess.nmcourts.gov/CaseDetail.aspx?CaseID=8489146                                                                   3/22/2021
                                                                                 Page 2 of 2
                Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 2 of 13


             Action Type           Action
02/24/2021                         Statutes, Ordinance Violations, Miscellaneous (Count VII - Violation of New Mexico Anti Trust Act Against All
             Cause Of Actions
                                   Defendants)
           Action Type             Action
02/24/2021 OPN: COMPLAINT
             Complaint for Violations of New Mexico's Anti-Trust Act and Unfair Practices Act
03/17/2021 Summons
              Bristol Myers Squibb                                    Unserved
03/17/2021 Summons
              Gilead Sciences Inc                                     Unserved
03/17/2021 Summons
              Gilead Sciences LLC                                     Unserved
03/17/2021 Summons
              Teva Pharmaceuticals USA Inc                            Unserved
03/17/2021 ENTRY OF APPEARANCE
             Entry of Appearance for Marcus J. Rael, Jr.
03/17/2021 JDG: JUDGE EXCUSAL/PEREMPTORY CHALLENGE (Judicial Officer: Sanchez-Gagne, Maria )
             Notice of Peremptory Excusal xc: LW
03/18/2021 JDG: JUDGE UNTIMELY EXCUSAL
             Case has not been reassigned due to untimely filing of Peremptory Excusal




https://securecourtcaseaccess.nmcourts.gov/CaseDetail.aspx?CaseID=8489146                                                                 3/22/2021
      Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 3 of 13

                                                    FILED 1st JUDICIAL DISTRICT COURT
                                                                         Santa Fe County
                                                                       2/24/2021 9:37 AM
STATE OF NEW MEXICO                               KATHLEEN VIGIL CLERK OF THE COURT
COUNTY OF SANTA FE                                                        Leah Baldonado
FIRST JUDICIAL DISTRICT COURT


STATE OF NEW MEXICO, ex rel.               Case No. D-101-CV-2021-00377
HECTOR H. BALDERAS, Attorney General,      Case assigned to Sanchez-Gagne, Maria




      v.

GILEAD SCIENCES, INC., a Delaware          JURY TRIAL DEMANDED
Corporation, GILEAD SCIENCES, LLC (f/k/
BRISTOL-MYERS SQUIBB & GILEAD
SCIENCES, LLC), a Delaware Limited
Liability Company, BRISTOL-MYERS
SQUIBB, a Delaware Corporation, and TEVA
PHARMACEUTICALS USA, INC., a New
Jersey Corporation,

Defendant.


                    COMPLAINT FOR VIOLATIONS
      OF NEW MEXICO'S ANTI-TRUST ACT AND UNFAIR PRACTICES ACT
                 Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 4 of 13




I.          INTRODUCTION                                                                            1
II.         JURISDICTION AND VENUE                                                                  9
In. PARTIES                                                                                     10
IV. NATURE OF THE CASE                                                                          12
      a.    Defendants Entered into Unlawful and Anti-Competitive Settlement Agreements That
      Delayed and Suppressed Generic Competition and Artificially Inflated Pricing for Crucial,
      Life-Saving TDF-Based HIV Medications                                                     12
      b.    Instead of Innovating, Gilead Engaged in Multi-Tiered Schemes and Collusive
      Collaborations Aimed at Insulating Vulnerable Patents and Its TDF-Based HIV Medications
      from Generic Competition                                                              14
      c.    In the Face of Imminent Generic Competition, Gilead Employed Unfair and Deceptive
      Sales and Marketing Schemes to Shift Market Share for its HIV Medications             16
V.          FACTUAL ALLEGATIONS                                                                 20
a. Background                                                                                   20
            i.      State Payments Under Medicaid Program                                       20
            ii.     Drug Approval Background                                                    24
            iii.    Hatch-Waxman Background                                                     26
b.   Defendants' Anti-Competitive Patent Infringement Settlement Agreements with Most
Favored Entry Provisions Delayed and Suppressed Generic Competition                             30
      i.     Viread (TDF)                                                                       30
            1.      Viread was a Significant Source of Gilead Revenue                           30
            2. Gilead's Viread Hatch-Waxman Exclusivities and Weak, Evergreened and Ancillary
            Patent Portfolio                                                                31
            3.      Multiple Generic Challenges to Viread Patents                               33
            4. Gilead and Teva Settled the Viread Patent Infringement Litigation the Day Before
            Trial on Terms Outwardly and Highly Favorable to Gilead                             35
            5. The Parties are Forced to Disclose to the Court the Existence of a "No Authorized
            Generic" Agreement After the FTC Objects to the Settlement Based on Antitrust Grounds
                36
            6. Teva Would Not Have Agreed to Simply Give Up Millions of Dollars of Revenue,
            As Was Represented to the Court                                                 39
            7. Defendants Improvised with Unfair and Anti-Competitive Most Favored Entry
            Provisions That Achieve the Same Objective                                          42
            8. Effect on State Reimbursements and New Mexico Commerce, Market Power and
            Competition                                                                 50
      ii.          Truvada (TDF/FTC) and Atripla (TDF/FTC/EFTO                                  51
            1.      Truvada is a Significant Source of Gilead Revenue                           52


                                                       ii
         Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 5 of 13




        2.     Atripla is a Significant Source of Gilead Revenue                           53
        3. Gilead's Truvada and Atripla Hatch-Waxman Exclusivities and Weak, Evergreened
        and Ancillary Patent Portfolios                                                 54
        4.    Multiple Generic Challenges to Truvada and Atripla                           58
        5. Teva Would Not Have Agreed to Give Up Millions of Dollars of Revenue Absent
        Unfair and Anti-Competitive Most Favored Entry Clauses                         64
        6. Effect on State Reimbursements and New Mexico Commerce, Market Power and
        Competition                                                                 67
c.    Gilead and BMS Conspire to Extend Their Monopolistic Positions Through Unfair
Business Dealings and Fraudulent Marketing Schemes Aimed at Insulating Their Vulnerable
Patents and Restraining Generic Competition                                             69
  i.     Gilead's and BMS's No Generics Agreement to Market Brand Atripla                  70
        1. Defendants Entered Their No Generics Restraint Agreement to Insulate Their
        Vulnerable Patents                                                                 73
        2. Defendants' No Generics Restraint Agreement Unlawfully Allows for Royalty
        Payments After Patents Expire and/or Are Invalidated                               75
        3.    Defendants' Deceptive and Fraudulent Joint Marketing and Promotion of Atripla 77
  ii.        Effect on State Reimbursements and New Mexico Commerce and Markets            78
d.   Gilead's Unconscionable Product Hopping Scheme Reduced Access and Affordability of
Preventative HIV Medications at the Expense of Government Payors                       81
  i. Gilead Deliberately and Deceitfully Delayed Development and Introduction of Allegedly
  Safer and More Effective TAF To Extend Its TDF-Based Franchise Monopolies and Profits 83
        1.    Development of TAF — Shelved by Gilead for Over a Decade                     84
        2. Gilead's Unlawful No Generics Deal with BMS Gave Gilead the Incentive and
        Ability to Delay TAF                                                               86
  ii.   Gilead Deliberately and Unconscionably Delayed Development of Tenofovir for PrEP
  Indications to Unfairly Profit from Government Research and Innovations, Funded by Tax-
  Payer Dollars, In Order to Extend Its Monopolies and Profits                            89
        1. Government and Tax Payer Funded Research Was Used to Support FDA's Approval
        for Gilead's Truvada for PrEP in 2012                                       92
        a.   Gilead Delayed PrEP Involvement Until After Truvada's Commercial Success to
        Fund Descovy for PrEP Research as Part of Its Product-Hopping and Deceptive Marketing
        Scheme                                                                              94
        2. Gilead's Unlawful and Anti-Competitive Patent Settlement Agreements with Teva
        Gave Gilead Additional Incentive and Ability to Delay PrEP Research and Development 95
  iii. Gilead Deceptively Promoted Prescription Switches From TDF-Based to TAF-Based
  HIV Medications To Reinforce Its Anti-Competitive Arrangements                     97
        1.     Gilead's Fraudulent Marketing and Targeting of HCPs in New Mexico           98
VI. FRAUDULENT CONCEALMENT AND TOLLING                                                    101


                                                  iii
     Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 6 of 13




VII. CAUSES OF ACTION                                                    104
  COUNT I                                                                104
  COUNT II                                                               106
  COUNT III                                                              109
  COUNT IV                                                               112
  COUNT V                                                                114
  COUNT VI                                                               117
  COUNT VII                                                              120
VIII. CONCLUSION                                                         125
IX. REQUEST FOR RELIEF                                                   125




                                    iv
         Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 7 of 13




         COMES NOW Plaintiff, the State of New Mexico, by the Honorable Hector Balderas,

Attorney General of the State of New Mexico ("Plaintiff" or "State"), and brings this action against

defendants GILEAD SCIENCES, INC. ("Gilead"), BRISTOL-MYERS SQUIB (`BMS"),

GILEAD SCIENCES LLC f/k/a BRISTOL-MYERS SQUIBB & GILEAD SCIENCES, LLC

("Gilead-BMS JV"), and TEVA PHARMACEUTICALS USA, INC. ("Teva") (collectively

"Defendants"). In support of its Complaint, the State avers as follows:

    I.        INTRODUCTION

         1.     Plaintiff, by and through its Attorney General, Hector Balderas, brings this civil

action to redress unlawful and deceptive practices, to obtain declaratory and equitable relief,

restitution, statutory penalties and all damages recoverable at law or in equity to remedy

Defendants' willful and deliberate violations of the New Mexico Anti-Trust Act, NMSA 1978,

Sections 57-1-8 to -19, ("NM Anti-trust Act") and the New Mexico Unfair Practices Act, NMSA

1978, Sections 57-12-1 to -22, ("NM UPA")).

         2.     This action arises out of Defendants' long-running fraudulent and coordinated

schemes, improper restraints of trade, and unfair and deceptive business practices that have

effectively curtailed generic competition, resulting in excessively inflated pricing for crucial

antiretroviral medications used in the prevention and treatment of Human Immunodeficiency Virus

("HIV") — a disease which, if left untreated, destroys the immune system, and leads to Acquired

Immunodeficiency Syndrome ("AIDS"). The antiretroviral medications at issue include Gilead's

VIREAD® (tenofovir disoproxil fumarate ("TDF")) and generic versions of same, TRUVADA®

(a combination of Viread (TDF) and emtricitabine ("FTC")), ATRIPLA® (a combination of

Truvada (TDF and FTC) and efavirenz ("EFV")), (collectively referred to as "TDF-Based"), as

well as Gilead's VEMLIDY® ( tenofovir alafenamide fumarate ("TAF")) and DESCOVY® (TAF


                                                 1
         Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 8 of 13




and FTC) (collectively referred to as "TAF-Based"). Each of these HIV Medications' consists of

one or more component drugs of the nucleotide/nucleoside analogous reverse transcriptase

inhibitor ("NRTF') class, which include tenofovir disproxil fumarate ("TDF"), tenofovir

alafenamide fumarate ("TAF"), and emtricitabine ("FTC"). The following chart summarizes each

branded drug and its component drugs:
                                                           2nd
    Branded Drug             1' NTRI                             NRTI                Third Agent


    VIREAD®                  TDF

    TRUVADA®                 TDF                           FTC

    ATRIPLA®2                "I'DF                         FTC                       EFV3

    VEMLIDY®                 TAF

    DESCOvY®                 - 1.1\   F                    FTC



         3.      Gilead owns the patents (or has obtained exclusive licenses to the technology) for

the component drugs TDF, TAF and FTC, as well as patents for the branded drugs Viread,

Truvada, Atripla, Vemlidy and Descovy. As each drug's patent was challenged or set to expire,

Gilead entered into unlawful, deceptive and anticompetitive arrangements with BMS, Teva and

other unnamed entities to delay and suppress entry of cheaper generic versions of each drug. The

net result of Gilead's and other Defendants' unlawful actions resulted in unwarranted and

excessively over-priced HIV Medications costing the State millions of dollars in drug

reimbursements.



  "HIV Medications" include Viread, Truvada, Atripla, Vemlidy, Descovy and any generic versions of same.
2 Atripla was marketed by Gilead Sciences LLC, a joint venture between Gilead and BMS, and is currently marketed
solely by Gilead.
3 Efavirenz ("EFV"), known by trade name SUSTIVA®, is commercialized by BMS.




                                                       2
        Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 9 of 13




        4.       HIV is one of the deadliest human pandemics in history. Since the first cases were

reported in the summer of 1981, more than 700,000 people United States ("U.S.") and 35 million

worldwide, have perished from the disease. In the United States, the HIV epidemic is still ongoing.

The Centers for Disease Control and Prevention ("CDC") reported that in 2017, the last year for

which data is available, an estimated 1.1 million people in the U.S. were living with HIV, nearly

40,000 people were newly diagnosed with it, and more than 5,000 Americans perished from it.

         5.      U.S. government payors, including State Medicaid programs, are one of the single

largest sources for insurance coverage and accessibility to antiretroviral medications for people

living with HIV.4 State Medicaid reimbursements for Gilead's HIV Medications are also a primary

source of Gilead's profits, as Gilead sells its HIV Medications in the U.S. at exponentially higher

prices compared to other countries around the world, where pricing is much closer to the cost of

manufacturing. By way of example, several of Gilead's HIV Medications cost less than $10 to

produce, yet for years Gilead has been able to consistently charge U.S. government payors over

one thousand dollars for a 30-day supply.5

        6.       Improved access to antiretroviral therapies ("ART") that durably suppress the virus

prevents the development of AIDS in persons living with HIV and decreases the likelihood of

transmission of HIV to others. Current HIV treatments are highly effective, but not curative.

Available treatments help people with HIV live longer, healthier lives, but do not eliminate the

virus from the human body or prevent reemergence of the virus when the treatment is discontinued.




  See Kaiser Family Foundation, Medicaid and HIV, (Oct. 1, 2019), available at: https://www.kff.orgthivaids/fact-
sheet/medicaid-and-hiv/ (last accessed Aug. 26, 2020).
5 In 2017, Gilead charged on average $1,500 for a 30-day supply of Truvada and $1,028 for a 30-day supply of Viread.
Of note, Truvada costs less than $9 to produce. Centers for Medicare & Medicaid Services ("CMS"), National Average
Drug Acquisition Cost Database, https://data.medicaid.gov/Drug-Pricing-and-Pavment/NADAC-as-of-2017-07-
26/yv6n-8hzz (last accessed Aug. 26, 2020).


                                                         3
       Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 10 of 13




Access to affordable HIV medications is an absolute necessity to preventing infections and

maintaining treatment for those living with HIV.

       7.      As drug-resistant strains of HIV continue to rise, today treatment strategies often

combine multiple ART from different drug classes, also known as ("cART"). The backbone for

most cART regimes typically consists of NRTIs, which function as analogs of the naturally

occurring deoxynucleosides and deoxynucleotides needed to synthesize the viral DNA. Thus, they

can disrupt the reverse transcription process needed to generate the HIV DNA, thereby preventing

integration of the proviral DNA into the genome of human cells.

       8.      During all times relevant, Gilead was the exclusive maker, and/or remains the

dominant maker, of TDF and TAF — two of the principal NRTIs used in any cART regime. TDF

and TAF are prodrugs of the same parent molecule tenofovir and are similar in structure. Prodrugs

are pharmacologically inactive compounds that, once administered, undergo a conversion by the

body's metabolic processes to become an active pharmacological agent.

       9.      TDF and TAF are almost always used alongside another NRTI, specifically either

FTC or lamivudine ("3TC"). When an HIV virus becomes resistant to either FTC or 3TC, the

virus's susceptibility to TDF and TAF increases. Thus, the combination of TDF or TAF with either

FTC or 3TC makes it more difficult for the virus to develop resistance to a cART regimen.

        10.    FTC and 3TC are remarkably similar, varying by the substitution of only a single

hydrogen atom in 3TC, with a fluorine atom in FTC in the 5-prime position of the cytosine ring.

Both the U.S. Department of Health and Human Services ("HHS") and the World Health

Organization ("WHO") guidelines stipulate that the drugs, when used for HIV treatment, can be

used interchangeabl y. Any cART regimen using FTC can use 3TC instead, and vice versa, without

a reduction in therapeutic efficacy.




                                                4
        Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 11 of 13




         11.      The ability to use 3TC instead of FTC is important to the antitrust claims here.

Gilead owns and currently still has patent protection for FTC, but generic 3TC has been available

in the U.S. since 2012. Thus, when generic TDF became available in December 2017, the price of

cART regimens should have dropped precipitously because two generic NRTIs-3TC and TDF—

were available in the marketplace. This complaint outlines how Gilead and its co-conspirators

prevented those price drops from occurring.

         12.      Gilead deliberately and deceitfully delayed generic competition of life-saving TDF-

Based products, including Viread, Truvada and Atripla, for years through sham patent litigation

against generic manufacturers and by entering into anticompetitive settlement agreements with

Teva (as well as other generic manufacturers). As a result, Gilead and Teva, individually and

collectively, were able to retain hundreds of millions of dollars in anticompetitive profits at the

expense of government payors, like Plaintiff. Defendants engaged in such exclusionary conduct,

with full knowledge that the launch of generic versions of TDF-Based HIV Medications would

dramatically reduce pricing,6 to wrongfully insulate themselves from competition, in order to

maintain exorbitant pricing and earn outsized profit margins.' Defendants' duplicitous actions and

unfair business practices directly resulted and continue to result in the State and New Mexico

participants paying excessive amounts for TDF-Based HIV Medications.

         13.      Gilead deliberately and purposefully withheld development and introduction of

superior TAF for over a decade in order to extend its monopoly and earn out-sized profit margins

on its TDF-Based HIV Medications. Only after generic competition was imminent, did Gilead




6 See e.g., Gilead Sciences, Inc. SEC Form 10-K 2017 Annual Report C[s]ales of generic versions of [its] products
could significantly reduce [its] sales and adversely affect [its] results of operations.").
7 See e.g., Gilead Sciences, Inc., Financial Presentation, Third Quarter Earnings Slides at 39 (Oct. 27, 2015) (In 2015,
Gilead was able to earn an astonishing 90% Non-GAAP Product Gross Margins).


                                                           5
        Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 12 of 13




introduce TAF, engaging in a fraudulent and unlawful product-hopping scheme to switch TDF-

Based prescriptions to TAF-Based prescriptions.

        14.    Gilead engaged in deceptive, misleading and fraudulent marketing schemes

targeting government payors and healthcare providers ("HCPs") to switch patients from its HIV

Medications facing generic competition (and thus reduced pricing) to higher-cost HIV Medications

purportedly protected by weak evergreened and ancillary patents and/or protected from

competition through unfair business arrangements with BMS shielding products from generic

competition. Such marketing schemes were employed to deceitfully induce prescriptions for and

switches to Gilead's HIV Medications.

        15.    In connection with these unfair settlement agreements, collusive collaborations and

product-hopping schemes, when faced with imminent generic competition, Gilead would unfairly

increase the already exorbitant pricing for its HIV Medications to wring the last bit of available

profits from its HIV franchises. As a result, Medicaid reimbursements for Gilead's HIV

Medications have substantially increased over time. In 2012 the State reimbursed over $2 million

for Gilead's HIV Medications, that number increased to $5.8 million in 2014 and $7.3 million by

2016.

        16.    One of Gilead's most lucrative and shameless product-hopping and deceptive

marketing schemes involves Truvada and Descovy, which are used as a pre-exposure prophylaxis

("PrEP") - one of the most effective ways to prevent infections in individuals not currently

diagnosed with HIV. The use of PrEP is of the utmost importance to public health and PrEP




                                                6
       Case 1:21-cv-00255-WJ-LF Document 1-2 Filed 03/23/21 Page 13 of 13




medications are indispensable in terms of ending the HIV/AIDS epidemic in the U.S. As a result,

Truvada for PrEP is covered in all respective State Medicaid programs.8

        17.      Gilead has unfairly profited from taxpayer dollars that funded government clinical

research for the use of Truvada and Descovy in a PrEP regime. After Truvada's initial approval,

the government took it upon itself to conduct clinical research and obtain patents covering the use

of tenofovir, including both TDF and TAF, in a PrEP regime. Gilead relied on the government's

research and patents in its submissions to the FDA to gain approval for a PrEP indication for

Truvada.

        18.      Gilead has clearly benefitted from the government's patents and research as the use

of Truvada and Descovy for PrEP have sky-rocketed (along with its sales). Yet, to date, Gilead

has not fairly obtained a license to the government's patents or paid reasonable royalties to the

government for its ground-breaking PrEP research. Instead, Gilead implemented another deceptive

product-hopping marketing scheme to switch prescriptions from Truvada, now facing imminent

generic competition and lower pricing, to Gilead's patent protected TAF-Based Descovy, in order

to keep prices artificially high and maintain its inflated profit margins. Gilead's unconscionable

business practices drastically reduce access to crucial preventative HIV Medications at the expense

of government payors, like Plaintiff, and to the detriment of public health.

        19.      Defendants' unlawful settlement agreements, unfair and anti-competitive

conspiracies and coordinated efforts to limit competition to maintain sky-high pricing and profits,

along with Gilead's deliberate deception and fraudulent product-hopping and marketing schemes,

targeting HCPs and participants reimbursed under the State's Medicaid Program, knowingly




8See N. Seiler, Leveraging Financing and Coverage Benefits: Medicaid Strategies to Deliver PrEP Intervention
Services, ACADEMY HEALTH (Jan. 2019).


                                                       7
